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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:12-CR-00399JAM
                      Plaintiff,        )
12                                      ) AMENDED STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     RAMON LEVARIO, et. al.             )
15
                                        ) Date: 9-16-2014
16                    Defendant.        ) Time: 9:30 a.m.
     ________________________________) Judge: Hon. John A. Mendez
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   JILL THOMAS and defendant JESSE MONTANEZ, by and through his counsel of
20
     record, KELLY BABINEAU, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on August 26, 2014.
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23          2.      By this stipulation, defendants now moves to continue the status
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     conference until September 16, 2014 at 9:30 a.m., and to exclude time between August
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     26, 2014 and September 16, 2014, under Local Code T4. Plaintiff does not oppose this
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27   request.
28          3.      The parties agree and stipulate, and request that the Court find the


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 1   following:
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            a.      The government has provided the discovery in this case.
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            b.      Counsel for defendant desires additional time to complete the review of
 4

 5   discovery, to conduct defense investigation, and to discuss potential resolutions with her
 6
     client. Counsel is continuing to engage in negotiations with the government. An offer
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     has been made to the defendant, but counsel for the defendant has been in trial, which is
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 9   ongoing, so she has not had an opportunity to fully discuss the offer with him.
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            c.      Counsel for defendants believe that failure to grant the above-requested
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     continuance would deny their reasonable time necessary for effective preparation,
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13   taking into account the exercise of due diligence.

14          d.      The government does not object to the continuance.
15
            e.      Based on the above-stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and the defendant in
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18   a trial within the original date prescribed by the Speedy Trial Act.
19
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
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     § 3161, et seq., within which trial must commence, the time period of August 26, 2014
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22   to September 16, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§

23   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
24
     the Court at defendants request on the basis of the Court's finding that the ends of
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     justice served by taking such action outweigh the best interest of the public and the

27   defendant in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other


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 1   provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
 3
     IT IS SO STIPULATED.
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 5

 6   Dated: August 24, 2014                         Respectfully submitted,
 7
                                                    /s/ JILL THOMAS
 8                                                  Kelly Babineau for:
                                                    JILL THOMAS
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                                                    Assistant US Attorney
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12   Dated: August 24, 2014                         /s/ KELLY BABINEAU
                                                    KELLY BABINEAU
13                                                  Attorney for JESSE MONTANEZ
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16                                         ORDER
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           IT IS SO FOUND AND ORDERED this 25th day of August, 2014.
18
                                      /s/ John A. Mendez________________________
19
                                      UNITED STATES DISTRICT COURT JUDGE
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